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KEN THERRIEN

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Attorney for:
ARTURO TEJEDA-GOMEZ

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
(Honorable Mary K. Dimke)

UNITED STATE OF AMERICA, NO. 4:21-cr-6004-SMJ-1

)
, )
Plaintiff, )

) DECLARATION OF COUNSEL
es ) REGARDING MOTION TO
REOPEN DETENTION HEARING
)
)
)

ARTURO-TEJEDA-GOMEZ
Defendant.

 

Ken Therrien upon oath deposes and states:

I am the Attorney for the Arturo Tejeda. Attached to this Declaration are
financial documents Mr. Tejeda submits on behalf of his motion to reopen his
detention and request for release on conditions approved by this Court.

Attached to this Declaration of Counsel are the following documents
submitted in support of Mr. Tejeda’s Motion to Reopen Detention and release

on Court approved conditions of release.

DECLARATION OF COUNSEL REGARDING KEN THERRIEN, PLLC
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Exhibit “A”: is a Market Analysis providing Market Values of comparable
homes located in Mr. Tejeda’s neighborhood estimating a market value of his
home of the range between GRP. -GQJ. According to Joanne Tejeda
she had been advised that a listing price for the Tejeda Residence would list for

$380,000, QP a copy from the Franklin County Assessor’s Office

indicating an assessed value of the Tejeda property of (iii yp
Exhibit “C” Mortgage Information as of October 22, 2021. Exhibit “D” a copy

of a Loan Statement indicating an outstanding principal of GP RA ;

DATED this 2nd day of November 2021.

/s/ Ken Therrien
Ken Therrien, WSBA # 20291
Attorney for Arturo Tejeda

 

CERTIFICATE OF SERVICE

I hereby certify under penalty of perjury of the laws of the State of Washington that on
November 3, 2021, I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF System.

e Benjamin Seal, Assistant United States Attorney
e Robin Emmans, Attorney For Andres Gutierrez

8/ Ken Therrien

KEN THERRIEN, WSBA #20291
Attorney for Arturo Tejeda-Gomez

DECLARATION OF COUNSEL REGARDING KEN THERRIEN, PLLC
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DECLARATION OF COUNSEL REGARDING
Page 3

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